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5
6                          UNITED STATES DISTRICT COURT
7                         EASTERN DISTRICT OF CALIFORNIA
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                                        )
9    UNITED STATES OF AMERICA,          ) CASE NO. 2:08-CR-00427-mce-7
                                        )
10        Plaintiff,                    )
                                        ) ORDER FOR EXTENSION OF TIME
11        vs.                           ) TO FILE POST-VERDICT MOTIONS
                                        ) AND CONTINUING SENTENCING
12   RAMANATHAN PRAKASH,                )
                                        )
13        Defendant.                    )
                                        )
14                                      )
15        Upon Unopposed Motion by Defendant’s Attorneys, Alan Ellis,
16   Esquire, Ronald C. Richards, Esquire, and David Dratman, Esquire,
17   it is hereby Ordered that:
18                   A.     An extension of time to prepare and file
19              post-verdict motions is granted and said post-verdict
20              motions are due on or before December 22, 2011.
21                   B.     The Response by the Government, if any, shall
22              be filed on or before January 12, 2012.
23                   C.     The Defendant’s Reply, if any, shall be filed
24              on or before January 19, 2012.
25                   D.     A hearing on post-verdict motions, if needed,
26              shall be held at a new date requested by counsel for
27              the parties to be held on January 26, 2012 at 9 am.
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1                                    E.    Sentencing is continued from January 5, 2012
2                              to January 26, 2012.
3
     Dated:                  November 2, 2011
4
                                                    __________________________________
5                                                   MORRISON C. ENGLAND, JR
                                                    UNITED STATES DISTRICT JUDGE
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8    DEAC_Signature-END:




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